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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


 CLAUDIA JAUREGUI RODRIGUEZ,                            §
                                                        §
                 Plaintiff,                             §
                                                        §
 v.                                                     §    Civil Action: 3:21-cv-1298
                                                        §
 EQUIFAX INFORMATION                                    §    With Jury Demand Endorsed
 SERVICES LLC, and NATIONSTAR                           §
 MORTGAGE LLC,                                          §
                                                        §
                 Defendants.                            §




                                          COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

        Plaintiff, Claudia Jauregui Rodriguez (“Plaintiff”), by and through counsel, for her

Complaint against Defendants, Equifax Information Services LLC and Nationstar Mortgage LLC,

jointly, severally, and in solido, states as follows:

                                      I. INTRODUCTION

        1.      Equifax Information Services LLC is a consumer reporting agency (“CRA”) as

defined by 15 U.S.C. § 1681a(f), and Defendant, Nationstar Mortgage LLC is a furnisher of

consumer information. Both Defendants have violated 15 U.S.C. § 1681 et seq., known as the Fair

Credit Reporting Act (the “FCRA”). Plaintiff seeks to recover from Defendants actual, statutory,

and punitive damages, injunctive relief, legal fees, and expenses.



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                                         II. PARTIES

       2.      Plaintiff, Claudia Jauregui Rodriguez, is a natural person residing in Stanislaus

County, California, is a “consumer,” as defined by the FCRA, 15 U.S.C. § 1681a(c), and is a victim

of repeated false credit reporting.

       Made Defendants herein are:

       3.      Upon information and belief, Defendant Equifax Information Services LLC, which

may also hereinafter be referred to as “Equifax,” “Defendant,” “Defendants,” “CRA,” “CRA

Defendant,” or “CRA Defendants” is a Georgia limited liability company that does substantial

business in this judicial district and may be served by delivering a summons to its headquarters,

1550 Peachtree Street, Northwest, Atlanta, Georgia 30309. Equifax is a nationwide consumer

reporting agency (“CRA”) as defined by 15 U.S.C. § 1681a(f). Equifax regularly engages in the

business of assembling, evaluating, and disbursing information concerning consumers for the

purposes of furnishing “consumer reports” as defined by 15 U.S.C. § 1681a(f) to third parties.

Equifax disburses such consumer reports to third parties of contract for monetary compensation.

       4.      Upon information and belief, Defendant Nationstar Mortgage LLC or Mr. Cooper,

which may also hereinafter be referred to as “Nationstar,” “Defendant,” “Defendants,” “Furnisher

Defendant,” or “Furnisher Defendants,” is a Delaware limited liability company that does

substantial business in this judicial district and may be served by delivering a summons to its Legal

Department at its headquarters, 8950 Cypress Waters Blvd., Coppell, Texas 75019. Nationstar is a

“person,” as defined by the FCRA, 15 U.S.C. § 1681a(b), and a furnisher of consumer credit

information to consumer reporting agencies.


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        5.      As used herein, “consumer reporting agency,” or “CRA,” means any person which,

for monetary fees, dues, or on a cooperative nonprofit basis, regularly engages in whole or in part in

the practice of assembling or evaluating consumer credit information or other information on

consumers for the purpose of furnishing consumer reports (commonly referred to as “credit reports”)

to third parties, and which uses any means or facility of interstate commerce for the purpose of

preparing or furnishing consumer reports and is an entity in the business of collecting, maintaining

and disseminating information regarding the credit-worthiness of individuals. CRAs specifically

include, but are not limited to, Equifax, Experian, TransUnion, and Innovis.

                               III. JURISDICTION AND VENUE


        6.      Plaintiff respectfully asserts that this Honorable Court has jurisdiction in this case

arises under federal law. 28 U.S.C. § 1331, 1334, and 1367 and 15 U.S.C. § 1681(p).

        7.      Venue is proper in this District, because Equifax and Nationstar transact business in

this District. Nationstar’s headquarters is located in this judicial district, a substantial part of the

conduct complained of occurred in this district, and various actions made basis of Plaintiff’s claims

against Defendants occurred in the Northern District of Texas as further described. 28 U.S.C. §

1391.

        8. Venue is further proper in this District, because Equifax entered into agreements with

Nationstar in this judicial district to receive credit reporting data concerning Plaintiff. Any and all

requests to investigate Plaintiff’s dispute sent from Equifax as part of its reinvestigation was submitted

to Nationstar’s headquarters and investigated by the furnisher Nationstar using Nationstar’s resources

located at or closely connected to this judicial district. Nationstar managed Plaintiff’s mortgage from
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this judicial district including communicating amounts owed and conducting numerous

communications via phone and letter.


                              IV. FACTUAL ALLEGATIONS


        9.     Plaintiff filed for Chapter 13 Bankruptcy in August of 2009. A copy of Plaintiff’s

bankruptcy petition is attached hereto and incorporated by reference as Exhibit “A.”

        10.    In July of 2013, Nationstar acquired Plaintiff’s mortgage loan for her property

located at 130 Las Flores Avenue, Modesto, California, Stanislaus County, California 95354 and

assigned loan number xxxxx3300.

        11.    The Bankruptcy was discharged on May 26, 2015. A redacted copy of the bankruptcy

discharge is attached hereto as Exhibit “B” and incorporated by reference.

        12.    On December 11, 2020, Plaintiff accessed her Equifax credit report and noticed it

was reporting incorrectly.

        13.    Within the Equifax credit report, Plaintiff noticed that it incorrectly reported a last

payment date of October 1, 2016, a past due amount of $10,628, a payment status of “Late 120

Days, and a balance owed of $145,004.

        14.    A redacted copy of Plaintiff’s Equifax Credit Report is attached hereto as Exhibit

“C” and incorporated in by reference.

        15.    On or about February 16, 2021, Plaintiff sent a direct dispute to Equifax and

requested that Equifax investigate the reporting of the Nationstar mortgage account. Plaintiff

requested that under the FCRA, Equifax conduct a reasonable investigation and remedy the

inaccuracies on Plaintiff’s credit reports concerning the Nationstar mortgage account. Plaintiff

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attached payment history showing the latest payments applied to the account, and that the last

reporting dates and balance were incorrect.

       16.     A redacted copy of Plaintiff’s unsigned dispute letter to Equifax that included

relevant documentation is attached hereto as Exhibit “D.”

       17.     Equifax responded to Plaintiff’s dispute on March 25, 2021. The response stated,

“We have researched this credit account. Account # - 61029* The results are: THIS ITEM HAS

BEEN DELETED FROM THE CREDIT FILE. If you have additional questions about this item

please contact:”

       18.     A redacted copy of Equifax’s response is attached hereto as Exhibit “E” and

incorporated herein by reference.

       19.     Equifax response deleted the tradeline rather than update Plaintiff’s payment history

to reflect the on-time payments that she made to the account. Notably, the response stated that they

researched the account and did not provide Plaintiff with anyone to contact. (See Exhibit E at Pg.

5)

       20.     Equifax offered no explanation for why the account was deleted.

       21.     Equifax’s response was not the result of a reasonable investigation into Plaintiff’s

dispute and failed to remedy the inaccuracies within the Nationstar tradeline and gave no

explanation as to why the Nationstar tradeline was deleted.

       22.     Equifax chose to “verify” false information from an unreliable source and failed to

correct the inaccurate information.

       23.     Upon the Plaintiff’s request to Equifax for verification and addition regarding the

Nationstar mortgage account, and in accordance with Equifax’s standard procedures, Equifax did

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not evaluate or consider any of Plaintiff’s information, claims or evidence and did not make any

attempt to substantially or reasonably verify the Nationstar tradeline.

       24.      In the alternative, Equifax failed to contact Nationstar, therefore, failed to perform

any investigation at all.

       25.      In the alternative to the allegation that Equifax failed to contact Nationstar, it is

alleged that Equifax did forward notice of the dispute to Nationstar, and Nationstar failed to conduct

a lawful investigation.

                                  V. GROUNDS FOR RELIEF

                       COUNT I – EQUIFAX’S VIOLATION OF THE FCRA
                                    (15 U.S.C. § 1681e(b))


       26.      The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

       27.      Equifax violated 15 U.S.C. § 168le(b) by failing to establish or follow reasonable

procedures to assure maximum possible accuracy in the preparation of the credit reports and credit

files it published and maintained concerning the Plaintiff.

       28.      The FCRA mandates that “[w]henever a consumer reporting agency prepares a

consumer report it shall follow reasonable procedures to assure maximum possible accuracy of the

information concerning the individual about whom the report relates.” 15 U.S.C. § 168le(b)

(emphasis added).

       29.      Equifax knew or should have known Plaintiff’s payment history, last activity date,

and balance were inaccurate, but Equifax continued to prepare an incomplete, misleading, and false

consumer report concerning Plaintiff.

       30.      Despite actual and implied knowledge that Plaintiff’s credit report was and is not

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accurate, Equifax readily provided incomplete, misleading, and false consumer reports to one or

more third parties, thereby misrepresenting Plaintiff, and ultimately Plaintiff’s creditworthiness.

       31.     After Equifax knew or should have known Plaintiff’s account status and payment

history were inaccurate, it failed to make the corrections and simply deleted the entire tradeline even

though Plaintiff did not request for the Nationstar mortgage tradeline be deleted.

       32.     As a result of Equifax’s conduct, action, and inaction, the Plaintiff suffered damages,

including, but not limited to, denial in attempts to refinance, loss in ability to finance goods, loss of

credit, loss of the ability to purchase and benefit from a credit, and suffering the mental and

emotional pain, anguish, humiliation, and embarrassment of credit denials.

       33.     Equifax's conduct, action, and inaction, were willful, rendering it liable to Plaintiff

for punitive damages in an amount to be determined by the Court pursuant to 15 U.S.C. § 168ln. In

the alternative, such conduct, action, and inaction, were negligent, entitling the Plaintiff to recover

under 15 U.S.C. § 1681o.

       34.     The Plaintiff is entitled to recover costs and attorney’s fees from Equifax in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or 1681o.

                      COUNT II – EQUIFAX’S VIOLATION OF THE FCRA
                                     (15 U.S.C. §1681i)

       35.     The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

       36.     Equifax violated 1681i by failing to update inaccurate information in the Plaintiff’s

credit file after receiving actual notice of such inaccuracies, failing to conduct a lawful

reinvestigation, failing to forward all relevant information to furnisher(s), failing to maintain

reasonable procedures with which to filter and verify disputed information in the Plaintiff’s credit

file, and relying upon verification from a source it has reason to know is unreliable.
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       37.     As a result of Equifax’s conduct, action, and inaction, the Plaintiff suffered damages,

including, but not limited to, denial in attempts to refinance, loss in ability to finance goods, loss of

credit, loss of the ability to purchase and benefit from a credit, and suffering the mental and

emotional pain, anguish, humiliation, and embarrassment of credit denials.

       38.     Equifax's conduct, action, and inaction, were willful, rendering it liable for actual or

statutory damages, and punitive damages in an amount to be determined by the Court pursuant to

15 U.S.C. § 1681n. In the alternative, such conduct, action, and inaction were negligent entitling the

Plaintiff to recover actual damages under 15 U.S.C. § 1681o.

       39.     The Plaintiff is entitled to recover costs and attorney's fees from Equifax in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or 1681o.



                   COUNT III – NATIONSTAR’S VIOLATION OF THE FCRA
                                   (15 U.S.C. §1681s-2(b))


       40.     Defendant Nationstar violated 15 U.S.C. § 1681s-2(b) by failing to conduct

reasonable investigations upon receiving notice of Plaintiff’s dispute(s) from one or more consumer

reporting agencies, and/or failing to appropriately report the results of their investigations, and/or

failing to appropriately modify the information.

       41.     Nationstar further violated 15 U.S.C. § 1681s-2(b) by failing to fully and properly

investigate the Plaintiff’s dispute of the Nationstar representation, failing to accurately respond to

the CRA Defendants, failing to correctly report results of an accurate investigation to every other

consumer reporting agency, and failing to permanently and lawfully correct its own internal records

to prevent the continued unlawful suppression of, or the reporting of the incomplete, misleading,

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and false Nationstar representations to the consumer reporting agencies.

         42.    As a result of Nationstar’s conduct, action, and inaction, the Plaintiff suffered

damages, including, but not limited to, denial in her attempt to refinance, loss in her ability to finance

goods, loss of credit, loss of the ability to purchase and benefit from a credit, and suffering the

mental and emotional pain, anguish, humiliation, and embarrassment of credit denials.

         43.    Nationstar’s conduct, action, and inaction, were willful, rendering it liable for actual

or statutory, and punitive damages in an amount to be determined by the Court pursuant to 15 U.S.C.

§ 1681n. In the alternative, it was negligent entitling the Plaintiff to recover actual damages under

15 U.S.C. § 1681o.


                 VI. VICARIOUS LIABILITY/RESPONDEAT SUPERIOR

         44.    Plaintiff will be able to show, after reasonable discovery, that all actions at issue

were taken by employees, agents, servants, or representatives, of any type, for Defendants, the

principals, within the line and scope of such individuals' (or entities’) express or implied authority,

through employment, agency, or representation, which imputes liability to Defendants for all such

actions under the doctrine of respondeat superior and/or vicarious liability.



                                         VII. DAMAGES

         45.    Plaintiff respectfully requests that this Honorable Court instruct the jury, as the trier

of facts, that in addition to actual or compensatory damages, punitive or exemplary damages may

be awarded against the Defendants under the provisions of the FCRA and/or states' laws, including

Texas.


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       46.     Plaintiff respectfully requests that this Honorable Court award Plaintiff her litigation

expenses and other costs of litigation and reasonable attorney’s fees incurred in this litigation, in

accordance with the provisions of the FCRA and/or other laws.

       47.     The above and foregoing actions, inactions, and fault of Defendants, as to each and

every claim, have proximately caused a wide variety of damages to Plaintiff.

       48.     Defendants performed perfunctory and essentially useless reinvestigations resulting

in the verification of false reportings about the Plaintiff and have been a substantial factor in causing

credit denials and other damages.

       49.     Plaintiff suffered a variety of damages, including economic and non-economic

damages as prayed for herein.

       50.     Defendants have negligently and/or willfully violated various provisions of the

FCRA and are thereby liable unto Plaintiff.

       51.     Defendants are liable unto Plaintiff for all actual, statutory, exemplary and punitive

damages awarded in this case, as well as other demands and claims asserted herein including, but

not limited to, out-of-pocket expenses, denial in her attempt to refinance her mortgage, credit

denials, costs and time of repairing her credit, pain and suffering, embarrassment, inconvenience,

lost economic opportunity, loss of incidental time, frustration, emotional distress, mental anguish,

fear of personal and financial safety and security, attorney’s fees, and court costs, and other

assessments proper by law and any and all other applicable federal and state laws, together with

legal interest thereon from date of judicial demand until paid.


WHEREFORE PREMESIS CONSIDERED, Plaintiff Claudia Jauregui-Rodriguez prays that this


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Honorable Court:


         A.      Enter Judgment in favor of Plaintiff and against Defendants Equifax Information

Services LLC and Nationstar Mortgage LLC, jointly, severally, and in solido, for all reasonable

damages sustained by Plaintiff, including, but not limited to, actual damages, compensatory damages,

out-of-pocket expenses, credit denials, costs and time of repairing her credit, pain and suffering,

embarrassment, inconvenience, lost economic opportunity, loss of incidental time, frustration,

emotional distress, mental anguish, and fear of personal and financial safety and security for

Defendants’ violations of the FCRA, applicable state law, and common law;

         B.      Find that the appropriate circumstances exist for an award of punitive damages to

Plaintiff;

         C.      Award Plaintiff pre-judgment and post-judgment interest, as allowed by law;

         D.      Order that Equifax Information Services LLC and Nationstar Mortgage LLC, work in

conjunction, cooperatively, and/or individually to reinvestigate and correct the consumer report(s),

credit report(s), data emanations, consumer histories, and credit histories of and concerning Plaintiff

and/or any of Plaintiff’s personal identifiers.

         E.      Grant such other and further relief, in law or equity, to which Plaintiff might show she

is justly entitled.



Date Filed: 06/07/2021


                                                  Respectfully submitted,


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                                        JURY DEMAND

             Plaintiff hereby demands a trial by jury on all issues so triable.

06/07/2021                                    /s/ Matthew P. Forsberg
Date                                          Matthew P. Forsberg




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